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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

WILLIAM G. ESSLINGER, JR.,

                  Plaintiff,
                                                        CIVIL ACTION NO.
vs.                                                     3:22-cv-00153-TCB
ENDLINK, LLC and ROBERT F.
WHITE,

                  Defendants.


       PLAINTIFF WILLIAM G. ESSLINGER, JR.’S CERTIFICATE OF
         INTERESTED PERSONS AND CORPORATE DISCLOSURE
                          STATEMENT

         (1) The undersigned counsel for William G. Esslinger, Jr., certifies that the

following is a full and complete list of all parties in this action, including any

parent corporation and any publicly held corporation that owns 10% or more of the

stock of a party:

       William G. Esslinger, Jr. – Plaintiff

       Endlink, LLC – Defendant

       Robert F. White – Defendant

         (2) The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations
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having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      For Plaintiff

    Esslinger Tech Law, LLC

      (3) The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

    Tiana S. Mykkeltvedt– Counsel for Plaintiff

    Laurie Ann Taylor – Counsel for Plaintiff

    Bondurant Mixson & Elmore, LLP – Counsel for Plaintiff

    John A. Lockett III – Counsel for Defendants Endlink, LLC, and Robert F.

      White

    The Lockett Law Firm LLC - Counsel for Defendants Endlink, LLC, and

      Robert F. White

                           [Signatures on following page.]




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Respectfully submitted this 4th day of October, 2022.

                                      /s/ Tiana S. Mykkeltvedt
                                      Tiana S. Mykkeltvedt
                                      Georgia Bar No. 533512
                                      Laurie Ann Taylor
                                      Georgia Bar No. 452926
                                      Bondurant Mixson & Elmore, LLP
                                      1201 West Peachtree St NW
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                                      (404) 881-4100 (Telephone)
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                                      mykkeltvedt@bmelaw.com
                                      ltaylor@bmelaw.com

                                   Counsel for Plaintiff




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                     CERTIFICATE OF COMPLIANCE

      I certify that the foregoing has been prepared in accordance with Local Rule

5.1, including preparation in Times New Roman 14-point font, one of the font and

point selections approved by the Court in Local Rule 5.1(C).

      This 4th day of October, 2022.

                                       /s/ Tiana S. Mykkeltvedt
                                       Tiana S. Mykkeltvedt
                                       Georgia Bar No. 533512




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                           CERTIFICATE OF SERVICE

      I certify that I caused a true and correct copy of the foregoing to be filed with

the Clerk of Court using the CM/ECF system, which will send notification of such

filing to all parties to this matter via electronic notification or otherwise.

      This 4th day of October, 2022.


                                         /s/ Tiana S. Mykkeltvedt
                                         Tiana S. Mykkeltvedt
                                         Georgia Bar No. 533512
